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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, No. 19-CR-02039-SMJ-

Plaintiff,
ACKNOWLEDGMENT OF NOTICE
OF RIGHTS — PETITION —
MORRIS BRUCE JACKSON PRETRIAL RELEASE

Defendant’s Printed Name.

VS.

 

 

 

The undersigned defendant does hereby acknowledge: I appeared on this date

and was advised as follows:

1. Of the charge or charges placed against me, and I acknowledge receipt of
a copy of Petition for Action on Conditions of Pretrial Release;

2. That I have been advised of the maximum penalty provided by law;

3. My right to remain silent at all times and if I make a statement it can be
used against me;

4. My right to retain my own counsel; and if I am without funds, to have
counsel appointed to represent me in this matter;

5. My right to a bail hearing, if I am in custody;

6. My right, if I am not a United States citizen, to request a Government
attorney or law enforcement official notify my country’s consulate of my

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arrest or detention.

Date: ay © . ef

 

 

Interpreter Signature

Ufa —

Interpreter Printed Name Defendant Signature

MORRIS BRUCE JACKSON
Defendant Printed Name

 

 

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